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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                           CIVIL MINUTE ENTRY

                                  Lee G. Dunst
 BEFORE:                          U.S. MAGISTRATE JUDGE
                                                                                               Deputy: Chelsea Tirado
                                                           September 9, 2022
 DATE:
                                                                10:15AM
 TIME:
                                 ☐ In Person          ☒ Video Conference     ☐ Telephone Conference
 FORMAT:
                                                        21-CV-1941 (JMA)(LGD)
 DOCKET NUMBER(S):

 NAME OF CASE(S):                 Jenkins v. Melchiona et al


 FOR PLAINTIFF(S):                Robert Howard Rickner


 FOR DEFENDANT(S):                Brian C. Mitchell


 NEXT CONFERENCE(S):              December 21, 2022 at 10:00AM in Courtroom 830


 FTR/COURT REPORTER: 10:16-10:22, via Zoom


 RULINGS FROM STATUS CONFERENCE:

 Case called. Counsel for all sides present.

 Given the deadline to amend the pleadings has long passed (see DE 16) and Plaintiff represented on the record that
 he does not intend to amend the complaint (DE 1), any future motions to amend the pleadings will be denied absent
 a showing of good cause pursuant to Fed R. Civ. P. 16(b)(4). See Sacerdote v. New York University, 9 F. 4th 95,
 115 (2d Cir. 2021).



                                                                     SO ORDERED

                                                                    /s/ Lee G. Dunst
                                                                    LEE G. DUNST
                                                                    United States Magistrate Judge
